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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                              :                   CASE NO: 18-53066-JWC
                                    :                   CHAPTER: 13
                                    :
BRENT CHARLES WILLIAMS              :
     Debtor                         :
---------------------------------- --                   --------------------------------
PENNYMAC LOAN SERVICES, LLC,        :
     Movant,                        :
                                    :                   CONTESTED MATTER
vs.                                 :
                                    :
BRENT CHARLES WILLIAMS              :
NANCY J. WHALEY, Trustee            :
     Respondents.                   :

                        MOTION FOR RELIEF FROM AUTOMATIC STAY
                             PURSUANT TO CONSENT ORDER

       Comes now PennyMac Loan Services, LLC, its successors or assigns, a secured creditor of the
above-named Debtor, and respectfully shows the Court as follows:
                                                   1.
       PennyMac Loan Services, LLC its successors or assigns, hereinafter known as "Movant”,
petitions the Court to lift the Automatic Stay as provided for in 11 U.S.C. §362 pursuant to a Consent
Order entered on September 5, 2018 by this Court on a Motion for Relief from Automatic Stay filed by
Movant on July 20, 2018.
                                                   2.
       Movant asserts that Respondent has breached the terms of said Consent Order and therefore
Movant is entitled to relief from the Automatic Stay.
                                                   3.
         Movant brings this Motion supported by an Affidavit of Default defining the specific details of
the delinquency (Exhibit “A”) and a copy of the issued Notice of Default (Exhibit “B”).


       WHEREFORE MOVANT PRAYS:
       (a) That the Automatic Stay entered by this Honorable Court pursuant to 11 U.S.C. §362 be
            modified so as to permit the Movant to exercise its right to foreclose its secured property
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          under the terms of its Note and Security Instrument including, but not limited to allowing
          Movant (and any successors or assigns) to proceed under applicable non-bankruptcy law to
          enforce its remedies to foreclose upon and obtain possession of the Property. All
          communications sent by Secured Creditor in connection with proceeding against the
          property including notices required by state law may be sent directly to Debtor.
       (b) That the Order lifting the stay waive the fourteen day stay provision as prescribed by
          Bankruptcy Rule 4001(a)(3); and
       (c) For such other and further relief as this Court deems just and proper.

RUBIN LUBLIN, LLC


/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
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Attorney for Creditor
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                                     CERTIFICATE OF SERVICE

       I, Lisa F. Caplan of Rubin Lublin, LLC certify that on the 1st day of March, 2019, I caused a
copy of the Motion for Relief Pursuant to Consent Order, Affidavit of Default under Consent Order,
and Proposed Order Modifying Stay to be filed in this proceeding by electronic means and to be served
by depositing a copy of the same in the United States Mail in a properly addressed envelope with
adequate postage thereon to the said parties as follows:

Brent Charles Williams
9124 Alden Drive
Locust Grove, GA 30248

Howard P. Slomka, Esq.
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Nancy J. Whaley, Trustee
303 Peachtree Center Avenue
Suntrust Garden Plaza, Suite 120
Atlanta, GA 30303



/s/ Lisa F. Caplan                           Executed on: 3/1/19
Lisa F. Caplan
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